              IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                       NORTHERN DIVISION

                           NO.2:20-CR-33-D(3)

UNITED STATES OF AMERICA

    ve:i:-sus

JACOBI GEWAYNE HARVEY

                     ORDER TO SEAL [DE 139]

    For good cause shown in [DE 139], the Clerk is hereby

ORDERED to place [DE 139] under the seal of the Court.

    This, the        2.,       day of




                             Jam~C. Dever III
                             United States District Judge




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